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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,

        v.                                            Case No. 10-20388
                                                      Honorable Mark A. Goldsmith
 D-1    LAMONTE WATSON, JR.,
 D-2    ISAAC DENEL MEEKS,
 D-3    SHAWN RENARD SMITH,
 D-4    TIMOTHY GRAYSON,
 D-5    ANTONIO WATSON,
 D-6    HANSEL WILLIAMS,
 D-7    TERRANCE ALEXANDER,
 D-9    DUANE WILLIAMS,
 D-10   DAMICHAEL WASHINGTON,
 D-12   LEMETRIUS KNAPP,
 D-13   ROQUAN WESLEY,

             Defendants.
 ____________________________________/


 OPINION AND ORDER (1) DENYING DEFENDANT TERRANCE ALEXANDER’S
 “MOTION FOR NOTICE UNDER RULES 404(B) AND 609 OF THE FEDERAL RULES
 OF EVIDENCE” (D.E. 140), DEFENDANT TERRANCE ALEXANDER’S “MOTION
 AND DEMAND FOR DISCLOSURE OF EXCULPATORY EVIDENCE AND RULE 16
 DISCOVERY MATERIALS” (D.E. 141), AND DEFENDANT LAMONTE WATSON,
 JR.’S “MOTION TO REQUIRE GOVERNMENT TO PRODUCE NAMES OF
 CONFIDENTIAL SOURCES” (D.E. 236); (2) DENYING DEFENDANT DAMICHAEL
 WASHINGTON’S “MOTION FOR BILL OF PARTICULARS” (D.E. 189); (3)
 DENYINIG DEFENDANT LAMONTE WATSON, JR.’S “MOTION TO MERGE
 COUNTS III AND IV OF THE INDICTMENT BASED ON MULTIPLICITY OF
 COUNTS” (D.E. 237); AND (4) GRANTING IN PART AND DENYING IN PART
 DEFENDANT LAMONTE WATSON, JR.’S REQUEST FOR AN “ORDER REQUIRING
 GOVERNMENT’S STIPULATION REGARDING COUNT VI PURSUANT TO OLD
 CHIEF [V.] UNITED STATES[, 519 U.S. 172 (1997)]” (D.E. 264)



        Before the Court are the following motions:
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        1)     Defendant Terrance Alexander’s “Motion for Notice Under Rules 404(b)
               and 609 of the Federal Rules of Evidence” (D.E. 140).
        2)     Defendant Terrance Alexander’s “Motion and Demand for Disclosure of
               Exculpatory Evidence and Rule 16 Discovery Materials” (D.E. 141).
        3)     Defendant Damichael Washington’s “Motion for Bill of Particulars” (D.E.
               189).
        4)     Defendant Lamonte Watson, Jr.’s “Motion to Require Government to
               Produce Names of Confidential Sources” (D.E. 236).
        5)     Defendant Lamonte Watson, Jr.’s “Motion to Merge Counts III and IV of
               the Indictment Based on Multiplicity of Counts” (D.E. 237).
        6)     Defendant Lamonte Watson, Jr.’s request for an “Order Requiring
               Government’s Stipulation Regarding Count VI Pursuant to Old Chief [v.]
               United States[, 519 U.S. 172 (1997)]” (D.E. 264).

 The Court has received briefing and heard oral argument on all of the motions.

 I.     Docket entries 140, 141, 236

        A.     Background

        On January 25, 2011, the government and several Defendants submitted a stipulation to

 this Court. See D.E. 240. The stipulation provides that the government (i) understands its

 production requirements under Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States,

 405 U.S. 150 (1972), and Federal Rule of Criminal Procedure 16, and will comply with those

 requirements, (ii) acknowledges its obligation to provide notice of intent to offer any evidence

 under Federal Rule of Evidence 404, and (iii) agrees to produce all material it possesses

 governed by the Jencks Act, 18 U.S.C. 3500(b), along with impeachment material, plea

 agreements, and any other consideration given, not later than ten days prior to trial. D.E. 240.

 Four Defendants – Terrance Alexander, Timothy Grayson, and Lamonte Watson, Jr., and

 Roquan Wesley – did not agree to the stipulation.

        Defendant Alexander had previously filed a “Motion for Notice Under Rules 404(b) and

 609 of the Federal Rules of Evidence” (D.E. 140) and a “Motion and Demand for Disclosure of

 Exculpatory Evidence and Rule 16 Discovery Materials” (D.E. 141). Defendants Grayson,


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 Wesley, and Lamonte Watson, Jr. joined in those motions.            In light of these Defendants’

 continuing opposition to the stipulation and pending requests for disclosure from the

 government, the Court directed them to address whether they sought disclosures additional to

 those addressed in the stipulation and/or more prompt disclosure than that outlined in the

 stipulation, along with the legal basis for their positions. D.E. 269 at 5. In response, Defendant

 Terrance Alexander submitted a supplemental brief (D.E. 270), and Defendant Timothy Grayson

 submitted a supplemental brief (D.E. 272). Although Defendant Lamonte Watson did not file a

 supplemental brief, he did file a motion to require the government to produce the names of

 confidential sources (D.E. 236),1 which Defendant Roquan Wesley joined.

           In his supplemental filing, Defendant Alexander requests Jencks materials at least a few

 days prior to the plea bargain deadline (now April 27, 2011).2 D.E. 270 at 1-2. Alexander

 argues that disclosure before plea cutoff is necessary because a defendant is often reluctant to

 plead to an offer until he has seen what co-conspirators or co-defendants are planning to say

 about him at trial. Alexander also requests “other material” that he requested in his previous

 motion for “Disclosure of Exculpatory Evidence and Rule 16 Discovery Materials” (D.E. 141),

 and asks that that information be provided within the time period provided by the government’s

 stipulation. D.E. 270 at 2-3.3



 1
  As Watson’s motion predated this Court’s February 9, 2011 Order, it could not have been
 submitted in response to it. However, because the motion raises disclosure claims, it makes
 sense to include it in this discussion.
 2
  The date the stipulation provides for turning over Jencks material is ten days before trial, or
 April 29, 2011.
 3
     This “other material” includes:

          “Any facts or allegations concerning criminal or other misconduct of the
           [potential witness testifying against the Defendant] not contained in his criminal

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           In his supplemental filing, Defendant Grayson requests that the government be required

 to provide “Jencks, Brady, and Gig[lio] material,” along with all “exculpatory material” before

 the plea cutoff. D.E. 272 at 1-2.4 Grayson argues that disclosure sooner than ten days before

 trial is necessary to allow adequate time for preparation and plea negotiation. D.E. 272 at 5.


           record, including any material information found in his probation file or any
           pending criminal charge or investigation against the witness.”

          “Any information which shows testimony of a witness was in any way motivated
           by personal animosity or feelings of revenge toward a defendant.”

          “Copies of any body tapes or consensual recording by FBI agents, DEA agents,
           IRS agents, ATF agents, or Postal Inspectors, made and in any way relating to this
           incident.”

          “Any information relating to pressure, threats or other coercion made or directed
           against a witness or person of concern to the witness including, but not limited to:
           criminal prosecutions, government investigation or potential prosecutions, any
           and all civil, tax forfeitures, licensing or other potential legal disputes with the
           government or with entities over which the government has any real, apparent or
           perceived influence.”

 D.E. 141 ¶ 7-10.
 4
     By “all exculpatory material,” Grayson means at a minimum:

           A) All consideration or promises of consideration given to or on behalf of a
           witness, or expected or hoped for by the witness. By “consideration” Defendant
           refers to anything, whether bargained for or not, which arguably could be of value
           or use to a witness or to persons of concern to the witness;
           B) All threats or other coercion made or directed against a witness or persons of
           concern to the witness;
           C) All records or information revealing prior felony convictions, misdemeanor
           convictions or juvenile adjudications of the Defendant and each witness the
           Government intends to call at trial, including but not limited to relevant “rap
           sheets”;
           D) All records or information revealing prior misconduct or bad acts of each
           witness the government intends to call at trial which could be used to impeach the
           witness;
           E) The existence and identification of each occasion on which the witness has
           testified before any Court, Grand Jury or other tribunal or body, or has otherwise
           officially made a statement in relation to Defendants, the investigation, or the
           facts of the case herein;

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        In his “Motion to Require Government to Produce Names of Confidential Sources,”

 Defendant Lamonte Watson, Jr., requests that the government disclose the names of its

 confidential sources at least 60 days before trial. D.E. 236. Watson claims that this is necessary

 so that counsel has the opportunity to prepare an effective cross-examination of those witnesses,

 in particular to allow for the ordering of transcripts from prior plea hearings and sentencings.

 D.E. 236 at 3. Watson acknowledges that the Jencks Act allows for the Court to recess trial

 proceedings to allow a defendant to prepare for cross-examining such witnesses, but maintains

 that it would be more convenient to require the government to produce the information before

 trial, thereby avoiding in-trial delays. Id. at 4. In order to address the government’s concerns

 about the confidential witnesses’ safety, Watson’s counsel proposes that the government could

 disclose the informants to him, and he would agree not to disclose them to his client or anyone

 else while preparing for cross-examination.




        F) The existence and identification of each occasion on which each witness who
        was or is an informer, undercover agent, accomplice, or expert has testified before
        any court, Grand Jury or other tribunal or body;
        G) The existence and identification of each occasion on which each witness may
        have testified falsely under oath, or submitted false affidavits in connection with
        proceedings of any kind, including but not limited to forfeiture proceedings, or
        each occasion on which each witness may have made inconsistent statements in
        connection with this case, and a summary of such inconsistent statements;
        H) The identity of any witness who has information that would call into question
        the credibility of any government witness, or any documents or letters from any
        person or organization that would call into question the credibility of any
        government witness;
        I) All other records and/or information which arguably could be helpful or useful
        to the defense in impeaching or otherwise detracting from the probative force of
        the Government's evidence or which arguably could lead to such records or
        information in which is located material exculpatory either to guilt or punishment.

 D.E. 272 at 2-3. The scope of this request is similar to that in Defendant Alexander’s original
 motion. See D.E. 141 at 3-7.


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          B.     Analysis

          In most criminal prosecutions, three governing rules, (i) the Brady doctrine, Brady v.

 Maryland, 373 U.S. 83 (1962), (ii) Federal Rule of Criminal Procedure 16, and (iii) the Jencks

 Act, 18 U.S.C. § 3500, “exhaust the universe of discovery to which the defendant is entitled.”

 United States v. Presser, 844 F.2d 1275, 1285 n.12 (6th Cir. 1988). The Brady doctrine requires

 the government to disclose evidence that is favorable to the accused and material to guilt or

 sentencing. Id. at 1281.5 Federal Rule of Criminal Procedure 16(a) “requires the government to

 disclose, upon a defendant’s request, any oral or written statements of the defendant, the

 defendant’s prior record, any documents or tangible evidence within the government's

 possession, custody or control, reports of examinations or tests, and a summary of any expert

 witness testimony.” United States v. Pegross, No. 05-80949, 2007 WL 1771542 at *1 (E.D.

 Mich. 2007). The Jencks Act “generally requires the government, on motion of a defendant, to

 produce statements in its possession of witnesses who testify at a trial.” United States v. Short,

 671 F.2d 178, 185 (6th Cir. 1982). Defendants’ motions generally do not specify in which

 category (Brady, Rule 16 or Jencks) the discovery they request belongs. The Court observes that

 the requests appear to fall into all three categories.      Accordingly, the Court addresses the

 required timing of the disclosures of all three types of disclosures.

          Only the specific categories of evidence outlined in Rule 16 are required to be disclosed

 before trial. See Presser, 844 F.2d at 1284-1285 (6th Cir. 1988). (The Rule requires disclosures

 “upon a defendant’s request.”       Fed. R. Crim. P. 16(a).)      Courts have concluded that the


 5
     “This rule also extends to evidence which could be used to impeach the credibility of a
 government witness.” United States v. Pegross, No. 05-80949, 2007 WL 1771542 at *2 (E.D.
 Mich. 2007) (citing Giglio v. United States, 405 U.S. 150, 154-55 (1972)).




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 government’s assurance that it is aware of its obligations under Rule 16 (as has happened here) is

 sufficient, and does not compel pre-trial discovery. See, e.g., Pegross, 2007 WL 1771542 at *2.

 With regard to Brady and Jencks material, “so long as the defendant is given impeachment

 material, even exculpatory material, in time for use at trial,” there is no constitutional violation.

 Presser, 844 F.2d at 1283. Further, the Jencks Act prohibits a court from ordering disclosure of

 Jencks material before the witness has testified in direct examination. See 18 U.S.C. §3500(a).

 Accordingly, it is clear that Defendants do not have a right to government disclosure of any of

 the information in question before the time set out by the stipulation.

         Defendants’ arguments to the contrary are unavailing. Defendant Grayson urges release

 of Jencks information sooner than ten days before trial “as a matter of due process and

 fundamental fairness, based upon the [Sixth] Amendment of the Constitution as it relates to a fair

 trial and effective representation of counsel.” D.E. 272 at 1. However, he does not cite any

 cases indicating that Jencks material must be disclosed prior to the close of a witness’ testimony

 on direct examination at trial.6 Similarly, Defendant Alexander does not offer any legal authority

 for his request for earlier disclosure.

         Lamonte Watson cites two out-of-circuit cases. One, United State v. Falkowitz, 214 F.

 Supp. 2d 365, 392-94 (S.D.N.Y. 2002) concludes that although district courts are prohibited

 from ordering pre-trial disclosure of Jencks Act material, that prohibition does not apply if the

 material in question is exculpatory material pursuant to the Fourteenth Amendment (as expressed

 in Brady). Id. at 394. But even accepting the conclusion in Falkowitz, the fact that the Jencks

 timing prohibition does not apply to Brady material does not say anything affirmative about
 6
   Grayson cites United States v. Narciso, 446 F. Supp. 252 (E.D. Mich. 1977), for the proposition
 that a court can require Jencks materials to be disclosed pretrial. However, subsequent Sixth
 Circuit precedent is in conflict with Narciso. See United States v. Algie, 667 F.2d 569, 570-72
 (6th Cir. 1982) (reversing district judge who had forced government to disclose Jencks material
 up to 5 days before the relevant witness testified). D.E. 272 at 4.

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 when Brady material must be disclosed. Further, Watson does not argue that the government has

 and is withholding Brady material. In his motion, he seeks only the disclosure of the names of

 confidential sources. The second case cited by Watson, United States v. Kaplan, 554 F.2d 577,

 580 (3d Cir. 1977), stands for the proposition that exculpatory material that was turned over to

 the defense in a “delayed” manner, but still during the trial, did not violate Brady. See id. (no

 violation because exculpatory documents brought to jury’s attention; “delayed disclosure by the

 prosecution is not per se reversible error”). Again, because Watson does not allege that the

 government is withholding Brady material, it is not clear what importance Kaplan has here.

         Further, to the extent that Defendants argue that they are entitled to disclosure before the

 plea cut-off so that they might make a fully informed plea decision, the Supreme Court has

 foreclosed such an argument. See United States v. Ruiz, 536 U.S. 622, 633 (2002) (“the

 Constitution does not require the Government to disclose material impeachment evidence prior

 to entering a plea agreement with a criminal defendant.”). Similarly, to the extent Defendant

 Watson argues that he has a right to witness disclosure 60 days in advance of trial, the Sixth

 Circuit has stated that “ordinarily, a defendant is not entitled to a list of the names . . . of the

 government’s witnesses.” United States v. Davis, 306 F.3d 398, 420 (6th Cir. 2002) (citing

 United States v. Perkins, 994 F.2d 1184, 1190 (6th Cir. 1993)).

         Accordingly, Defendants have not shown an entitlement to more prompt disclosure of the

 materials than is set out by the stipulation. Nevertheless, the Court has discretion to order

 disclosure of Brady material prior to the time          disclosure is required in order to avoid a

 constitutional violation. See United States v. Hart, 760 F. Supp. 653, 655 (E.D. Mich. 1991)

 (“Although . . . pretrial disclosure of Brady material is not required, it is clear that a district court

 has general authority to order pretrial disclosure of Brady material to ensure the effective



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 administration of the criminal justice system.”) (internal quotation marks omitted); United States

 v. Jones, No. 10-20568, 2011 WL 551145 at *2 (E.D. Mich. Feb. 9, 2011).                The Court

 recognizes the valuable role that knowledge of Brady information has in permitting defendants to

 prepare a vigorous defense and thus preserving a criminal defendant’s right to a fair trial. Given

 that the government has stipulated to turn over “impeachment material” and Jencks Act material

 ten days before trial, there appears to be no basis for withholding any other material that would

 qualify as Brady material. Accordingly, the Court directs the government to disclose all Brady

 material currently in its possession at least ten days before trial.

         Similarly, the Court has the authority to order disclosure of the government’s witness list

 in advance of trial. See United States v. Kendricks, 623 F.2d 1165, 1168 (6th Cir. 1980) (per

 curiam) (although “[i]t is well recognized that defendants cannot obtain lists of prosecution

 witnesses as a matter of right,” “the district court has discretion to order the prosecution to

 produce it”). In Kendricks, the trial court ordered disclosure at least 48 hours before trial. See

 id. Other courts have required earlier disclosure. See United States v. Jackson, 508 F.2d 1001,

 1006 (7th Cir. 1975) (district court has authority to order both parties to disclose their witness

 lists approximately three months before trial); United States v. West, No. 08 CR 669, 2010 WL

 2293392, at *5 (N.D. Ill. Jun 2, 2010) (witness lists must be filed fourteen days before trial);

 United States v. Zhuta, No. 09CR357A, 2011 WL 1330855, at *1 (W.D.N.Y. April 6, 2011)

 (noting that local practice requires disclosure thirty days before trial).

          Given that the government has agreed to turn over considerable materials that would

 identify witnesses ten days before trial, there does not appear to be any reason for withholding

 the names of witnesses at that point in time. On the other hand, an earlier disclosure date is not

 warranted on this record because Defendants have not offered any particularized reasons for



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 requiring an earlier disclosure date for witnesses. At most, Defendants speak of a generalized

 need to prepare for cross examination, but the fact of prior convictions – a prime basis for

 impeachment – should be determinable within a ten day timeframe. Although Defendants

 contend they will need time to order sentencing and guilty plea transcripts, it is sheer speculation

 that there would be anything admissible in such transcripts beyond the conviction itself – and

 proof of the conviction may be elicited through cross examination or a certified record, which

 will not require an extended period of time to obtain. Accordingly, the Court will order the

 government to furnish Defendants with a witness list at least ten days before trial. Should there

 be a security reason for withholding a name from the witness list, the government may move for

 a protective order within 72 hours of the issuance of this Opinion and Order.             Should a

 Defendant believe there is a particularized reason for additional time to prepare to address the

 testimony of a disclosed witness, the Court will entertain an adjournment of the trial.

 II.    Docket entry 189

        A. Background

        On November 24, 2010, Defendant Damichael Washington filed a motion requesting a

 bill of particulars. D.E. 189. On February 9, 2011, in connection with another motion filed by

 Defendant Washington, the Court ordered the government to prepare and submit an offer of

 proof describing its evidence of conspiracy. The detailed offer of proof was submitted on March

 1, 2011. D.E. 290. On March 3, 2011, Washington filed a response to the offer of proof arguing

 that the offer of proof infrequently referenced Washington and lacked evidence of Washington’s

 participation in the conspiracy. D.E. 295. On March 4, 2011, the government filed in response

 a supplemental offer of proof. The offer of proof detailed phone calls between Washington and

 co-Defendant Lamonte Watson in which Watson and Washington appear to discuss



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 Washington’s difficulty in selling cocaine, whether Washington could return the cocaine to

 Watson, and the ability of Watson’s other suppliers to distribute the cocaine. D.E. 296. Watson

 and Washington also appeared to discuss a better vehicle for Washington to drive in order to

 avoid law enforcement detection. Id. The government noted that it had already provided the

 phone calls to defense counsel in prior discovery.

        B. Analysis

        The decision to order a bill of particulars pursuant to Federal Rule of Criminal Procedure

 7(f) is within the sound discretion of the trial court. United States v. Robinson, 390 F.3d 853,

 867 (6th Cir. 2004). The Sixth Circuit has described the decision as follows:

        A bill of particulars is meant to be used as a tool to minimize surprise and assist
        defendant in obtaining the information needed to prepare a defense and to
        preclude a second prosecution for the same crimes. United States v. Birmley, 529
        F.2d 103, 108 (6th Cir. 1976); United States v. Haskins, 345 F.2d 111, 114 (6th
        Cir. 1965). It is not meant as a tool for the defense to obtain detailed disclosure of
        all evidence held by the government before trial. United States v. Kilrain, 566
        F.2d 979, 985 (5th Cir. 1978), cert. denied, 439 U.S. 819, 99 S. Ct. 80, 58 L. Ed.
        2d 109, reh’g denied, 439 U.S. 997, 99 S. Ct. 599, 58 L. Ed. 2d 670; United States
        v. Lawson, 688 F. Supp. 314, 315 (S.D. Ohio 1987); United States v. Jones, 678
        F. Supp. 1302, 1304 (S.D. Ohio 1988). Further, a defendant is not entitled to
        discover all the overt acts that might be proven at trial. United States v. Kilrain,
        566 F.2d at 985.

 United States v. Salisbury, 983 F.2d 1369, 1375 (6th Cir. 1993).

        In light of Defendant’s receipt of the government’s offer of proof and supplemental offer

 of proof, in addition to the good deal of discovery that has been disclosed in this matter, the

 Court concludes that Defendant Washington has been given sufficient information as to the

 government’s theories and evidence. At this point, there would be no substantial benefit to be

 realized by requiring a separate bill of particulars. Accordingly, the Court will deny the motion.




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 III.   Docket entry 237

        A. Background

        In his “Motion to Merge Counts III and IV of the Indictment Based on Multiplicity of

 Counts” (D.E. 237), Defendant Lamonte Watson, Jr., argues that because counts III and IV both

 charge possession with intent to distribute a controlled substance in violation of 21 U.S.C. §

 841(a)(1), the counts are multiplicitous. Watson acknowledges that the indictment specifies that

 count III charges possession with intent to distribute cocaine and that count IV charges

 possession with intent to distribute heroin, see D.E. 28 (superseding indictment), but argues that

 because the terms “heroin” and “cocaine” are not elements of the offense, the charges remain

 multiplicitous and should be merged.

        B. Analysis

        As the government correctly argues, the Sixth Circuit decided this question in United

 States v. Pope, 561 F.2d 663 (6th Cir. 1977). In Pope, the court concluded that the district court

 did not err in not consolidating two counts, one charging possession with intent to distribute

 under § 841(a)(1) with regard to heroin and the other charging the same with regard to

 methadone. Id. at 669.

        To the extent Watson may be understood to be making the alternative argument that,

 even if he is not entitled to merger, the Court has the discretion to merge the counts, the Court

 declines the invitation. The only rationale that Watson gives for taking such action is to prevent

 “the possible psychological effect on the jury of suggesting the Defendant committed not one but

 several crimes based on the same act.” D.E. 237 at 3. To the extent such a danger might exist, it

 may be prevented by ensuring that the jury is made aware that count III applies to cocaine and

 that count IV applies to heroin.



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 IV.    Docket entry 264

        A. Background

        In his request for an “Order Requiring Government’s Stipulation Regarding Count VI

 Pursuant to Old Chief [v.] United States[, 519 U.S. 172 (1997)]” (D.E. 264), Lamonte Watson,

 Jr., asks this Court to require that the government agree to a stipulation that he is a convicted

 felon for purposes of the felon-in-possession charge against him (Count VI). Specifically,

 Watson asks that he be able to “plead on the record to his convicted felon[] status at the start to

 the trial,” meaning that “the Government would not have to prove the allegations of Count VI of

 the Indictment” which set forth Watson’s two prior felony drug convictions. D.E. 264 at 1-2.

 Watson argues that the government should be forced to agree to the stipulation because the jury

 would be unfairly prejudiced if it had knowledge of his previous drug convictions. Watson also

 requests that the jury “simply be told that Count VI is Possession of Firearms by a Prohibited

 Person and that the Defendant admits in this case that he is a person prohibited by law from

 possessing firearms. The Government is not prejudiced by the handling of this issue in this way

 as they only have to prove [] whether or not the Defendant possessed the weapon.” D.E. 264 at

 2.

        B. Analysis

        Watson’s request finds some support in the Supreme Court case of Old Chief v. United

 States, 519 U.S. 172 (1997). In Old Chief, the Court concluded that the district court erred by

 allowing the government to refuse to join the defendant’s proposed stipulation to the prior-

 conviction element of 18 U.S.C. 922(g)(1) (prohibition on being a felon in possession of a

 firearm). Id. at 174. The Court’s analysis turned on the facts that the trial court allowed the



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 government to present the full record of the prior conviction, which included the name and

 nature of the prior offense, evidence which, under the circumstances was unfairly prejudicial

 under Federal Rule of Evidence 403 (the defendant had previously been convicted of assault and

 was facing an assault charge in the case at issue). Id. at 191.

          Accordingly, under Supreme Court precedent, Watson is entitled to make an admission

 (or a stipulation) that he is a felon. And that admission will trump any right the government has

 to present a more-detailed version of the conviction to the jury

          However, Watson’s proposal to tell the jury (i) that the relevant count is simply

 “possession of a firearm by a prohibited person” and (ii) that Watson admits that he is such a

 “prohibited person,” presents a different question. Following Watson’s proposal would mean

 that not only would the jury not know that his prior felony was a drug crime, but they would not

 know that he was a felon.

          The government contends that the Court would be prevented from granting this request,

 citing United States v. Milton, 52 F.3d 78 (4th Cir. 1995). The government argues that Watson’s

 proposal would likely entail the court instructing the jury that one element of the relevant charge

 had been proven, but the jury would not be aware of what that element was. Thus, the district

 court would be impermissibly modifying a criminal statute enacted by Congress and also

 impermissibly failing to instruct a jury of each and every essential element of an offense. See id.

 at 81.

          Because Milton predates Old Chief, and Old Chief did not analyze the jury instructions in

 that case, it is not entirely clear what the continuing effect of Milton is. At least one district

 court has cited Milton, post Old-Chief, for the proposition that the jury must be informed of all

 elements of § 922(g), including those to which the defendant stipulated. See United States v.



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 Gordon, No. 3:04CV000230, 2004 WL 3331769 at *2 (W.D. Va. Sept. 2, 2004). Notably, the

 Gordon court rejected a proposal very similar to the one Watson proposes here. See id. at 1

 (defendant who was an illegal alien, prohibited from possessing a firearm under § 922(g),

 admitted his illegal-alien status and then sought to keep evidence of that status (including his

 stipulation) from the jury and have it evaluate only whether he possessed a firearm).

         In light of all of the above, the Court rules as follows. Watson may stipulate to having

 been convicted of a crime punishable by more than a year in prison, and the jury will be

 informed of that fact; but the jury will not be informed that he was convicted of a drug crime.

 This result is consistent with the fact that Watson does not establish any right to have his felon

 status kept from the jury, and the mechanics of doing so may violate the principles identified in

 Milton and Gordon. This result is also consistent with the Rule 403 considerations in Old Chief.

 As in Old Chief, it might be unfairly prejudicial for the jury to hear that Watson was previously

 convicted of the same crime for which he is currently on trial. The mere fact that he is a

 convicted felon – a fact the Old Chief Court did not raise as problematic – is far less prejudicial,

 especially in light of the fact that it is an element of the offense.

         Finally, Watson also asks that Defendants be listed in the Indictment in alphabetical order

 in order to avoid the potential prejudice of him being known as the “number one guy.” Watson

 does not cite any legal authority in support of this request, nor does the government address it.

 Rather than change the order of the now-standardized caption, the Court instead will simply

 instruct the jury that Defendants’ order in the case caption is of no significance.

 V.      Pending motions

         Several pending motions remain.           The following motions are taken under

 advisement; the Court will issue a written opinion with regard to these motions:



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        1)      Defendant Damichael Washington’s “Motion for Disclosure of, and to
                Limit the Scope of, Expert Testimony Regarding Drug ‘Lingo’ or ‘Code’”
                (D.E. 186).

        2)      Defendant Antonio Watson’s “Motion to Limit Expert Testimony” (D.E.
                192).

        3)      Defendant Timothy Grayson’s “Motion to Suppress Evidence” (D.E. 255).

        4)      Defendant Antonio Watson’s “Motion to Suppress and for Franks
                Hearing” (D.E. 256).

        5)      Defendant Lamonte Watson, Jr.’s “Motion to Suppress Title III
                Intercepts” (D.E. 275).

 Two additional motions await further action:

        1)      Defendant Damichael Washington’s “Motion for Enright Hearing and
                Ruling” (D.E. 190).

        2)      Defendant Roquan Wesley’s “Motion for Severance” (D.E. 253).

 The Enright motion awaits completion of supplemental briefing as directed by this Court’s order

 of April 1, 2011. D.E. 314. Briefing will be complete on April 28, 2011 and the Court will issue

 a written opinion after that date. The severance motion is scheduled to be argued before this

 Court on April 27, 2011. The Court will issue a written opinion after that date.

 VI.    Conclusion

        For the reasons set out above, the Court orders as follows:

               Defendant Terrance Alexander’s “Motion for Notice Under Rules 404(b)
                and 609 of the Federal Rules of Evidence” (D.E. 140), his “Motion and
                Demand for Disclosure of Exculpatory Evidence and Rule 16 Discovery
                Materials” (D.E. 141), and Defendant Lamonte Watson, Jr.’s “Motion to
                Require Government to Produce Names of Confidential Sources” (D.E.
                236) are DENIED. However, the government is directed to (i) disclose all
                Brady materials and (ii) disclose its list of witnesses to all Defendants ten
                days before trial.

               Defendant Damichael Washington’s “Motion for Bill of Particulars” (D.E.
                189) is DENIED.



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              Defendant Lamonte Watson, Jr.’s “Motion to Merge Counts III and IV of
               the Indictment Based on Multiplicity of Counts” (D.E. 237) is DENIED.

              Defendant Lamonte Watson, Jr.’s request for an “Order Requiring
               Government’s Stipulation Regarding Count VI Pursuant to Old Chief [v.]
               United States[, 519 U.S. 172 (1997)]” (D.E. 264) is GRANTED IN PART
               and DENIED IN PART.

        IT IS SO ORDERED.



 Dated: April 19, 2011                               s/Mark A. Goldsmith
        Flint, Michigan                              MARK A. GOLDSMITH
                                                     United States District Judge

                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served upon counsel of record
 and any unrepresented parties via the Court's ECF System to their respective email or First Class
 U.S. mail addresses disclosed on the Notice of Electronic Filing on April 19, 2011.

                                                     s/Deborah J. Goltz
                                                     DEBORAH J. GOLTZ
                                                     Case Manager




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